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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF NEBRASKA



  IN RE:                                 )
                                                     Case No. BK08-83016
                                         )
  TRI-STATE FINANCIAL, LLC, d/b/a        )
                                                          Chapter 11
  NORTH COUNTRY ETHANOL,                 )
                                         )
                          Debtor.        )
                                         )
  __________________________________     )
                                         )
  THOMAS D. STALNAKER, TRUSTEE,          )
                                         )
                                                 Adv. Proc. No. 10-08052-TJM
                          Plaintiff,     )
                                         )
  vs.                                    )
                                         )
  GEORGE ALLISON, JR.; FRANK &           )
  PHYLLIS CERNIK; CHRIS & AMY            )
  DANIEL; DISTEFANO FAMILY LTD.          )
  PARTNERSHIP; MARK E. EHRHART;          )
  ROBERT G. GRIFFIN; JOHN HOICH;         )
  DENISE HOICH; TIMOTHY JACKES;          )
  JAMES G. JANDRAIN; GEORGE              )
  KRAMER; BERNIE MARQUARDT;              )
  RADIO ENGINEERING INDUSTRIES,          )
  INC.; JOSEPH VACANTI, TRUSTEE OF       )
  THE JOSEPH & CYNTHIA VACANTI           )
  TRUST; AMERICAN INTERSTATE             )
  BANK; AND CENTRIS FEDERAL              )
  CREDIT UNION,                          )
                                         )
                        Defendants.      )
                                         )
                                         )
                                         )
                                         )
                                         )
                                         )
                                         )
                                         )
                                         )
                                         )
                                         )
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  __________________________________            )
  CENTRIS FEDERAL CREDIT UNION,                 )
                                                )
                  Counterclaim and              )
                  Cross-Claim Plaintiff,        )
                                                )
  vs.                                           )
                                                )
  THOMAS D. STALNAKER, TRUSTEE,                 )
                                                )
                  Counterclaim Defendant,       )
                                                )
  and                                           )
                                                )
  GEORGE ALLISON, JR.; FRANK &                  )
  PHYLLIS CERNIK; CHRIS & AMY                   )
  DANIEL; DISTEFANO FAMILY LTD.                 )
  PARTNERSHIP; MARK E. EHRHART;                 )
  ROBERT G. GRIFFIN; JOHN HOICH;                )
  DENISE HOICH; TIMOTHY JACKES;                 )
  JAMES G. JANDRAIN; GEORGE                     )
  KRAMER; BERNIE MARQUARDT;                     )
  RADIO ENGINEERING INDUSTRIES,                 )
  INC.; AMERICAN INTERSTATE                     )
  BANK; AND JOSEPH VACANTI,                     )
  TRUSTEE OF THE JOSEPH &                       )
  CYNTHIA VACANTI TRUST,                        )
                                                )
                    Cross-Claim Defendants.     )
                                                )
  __________________________________


                     NOTICE OF OBJECTION/RESISTANCE DEADLINE

 TO ALL INTERESTED PARTIES:

         YOU AND EACH OF YOU ARE HEREBY NOTIFIED that Defendant and

 Counterclaim Plaintiff Centris Federal Credit Union (“Centris”), a creditor herein, by and

 through its attorneys of record, has filed a Motion to Dismiss Party (the “Motion”) [Filing #160]

 with the United States Bankruptcy Court for the District of Nebraska, a copy of which has been

 previously sent to all interested parties.

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        YOU ARE FURTHER ADVISED this Notice is being furnished to you pursuant to

 Nebraska Rule of Bankruptcy Procedure 9013-1, and that any objection, resistance or request for

 hearing with respect to the above-referenced Motion must be in writing and filed by August 2,

 2012, with the Clerk of the Bankruptcy Court, Roman L. Hruska Courthouse, 111 South 18th

 Plaza, Omaha, Nebraska, with a copy to David J. Skalka, Croker, Huck, Kasher, DeWitt,

 Anderson & Gonderinger, L.L.C., 2120 S. 72nd Street, Suite 1200, Omaha, Nebraska 68124.

        In the event a timely resistance, objection, or request for hearing is filed, a hearing will be

 scheduled at the convenience of the Court.

        In the absence of timely filed objections, the Court may enter an Order granting the relief

 requested in the Motion without further notice or hearing.

        DATED this       12th   day of July, 2012.


                                               CENTRIS FEDERAL CREDIT UNION, Defendant
                                               and Counterclaim Plaintiff



                                               By       /s/ David J. Skalka
                                                          Martin P. Pelster, #19223
                                                          David J. Skalka, #21537
                                                          Croker, Huck, Kasher, DeWitt, Anderson &
                                                             Gonderinger, L.L.C.
                                                          2120 South 72nd Street, Suite 1250
                                                          Omaha, Nebraska 68124
                                                          (402) 391-6777
                                                          (402) 390-9221 (Fax)

                                               Attorneys for Defendant and Counterclaim Plaintiff




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 12th day of July, 2012, I caused the above document to be
 filed in the Bankruptcy Court’s CM/ECF system which gave notification electronically upon all
 parties who filed an appearance or requested notice by electronic filing in this case, and I hereby
 certify that I have mailed by first class United States mail, postage prepaid, the document to the
 following non-CM/ECF participants:

         None.



                                                   /s/ David J. Skalka
                                              David J. Skalka, #21537




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